

Matter of Beehler v Senft (2025 NY Slip Op 02770)





Matter of Beehler v Senft


2025 NY Slip Op 02770


Decided on May 7, 2025


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 7, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

MARK C. DILLON, J.P.
CHERYL E. CHAMBERS
LOURDES M. VENTURA
JAMES P. MCCORMACK, JJ.


2024-06216

[*1]In the Matter of Peyton Beehler, petitioner,
vAnthony S. Senft, Jr., etc., et al., respondents.


Jonathan B. Manley, Hauppauge, NY (The Matera Law Firm [Michaelangelo Matera] of counsel), for petitioner.
Raymond A. Tierney, District Attorney, Riverhead, NY (Timothy Gough, Dana Castaldo, and Meaghan Powers of counsel), respondent pro se.



DECISION &amp; JUDGMENT
Proceeding pursuant to CPLR article 78, inter alia, in the nature of prohibition to prohibit the respondent Anthony S. Senft, Jr., a Judge of the County Court, Suffolk County, from vacating the petitioner's plea agreement of February 6, 2024, in an action entitled People v Beehler , pending in the County Court, Suffolk County, under Indictment No. 72309/22, and, in effect, in the nature of mandamus to compel the respondent Anthony S. Senft, Jr., to sentence the petitioner in accordance with the plea agreement of February 6, 2024.
ADJUDGED that the petition is denied and the proceeding is dismissed on the merits, without costs or disbursements.
"Because of its extraordinary nature, prohibition is available only where there is a clear legal right, and then only when a court—in cases where judicial authority is challenged—acts or threatens to act either without jurisdiction or in excess of its authorized powers" (Matter of Holtzman v Goldman , 71 NY2d 564, 569; see Matter of Rush v Mordue , 68 NY2d 348, 352). The extraordinary remedy of mandamus will lie only to compel the performance of a ministerial act, and only where there exists a clear legal right to the relief sought (see Matter of Legal Aid Socy. of Sullivan County v Scheinman , 53 NY2d 12, 16). The petitioner has failed to demonstrate a clear legal right to the relief sought.
The petitioner's remaining contentions are without merit.
DILLON, J.P., CHAMBERS, VENTURA and MCCORMACK, JJ., concur.
ENTER:
Darrell M. Joseph
Clerk of the Court








